Case 2:17-cv-13782-MCA-MAH Document 26 Filed 12/27/18 Page 1 of 2 PagelD: 1281

UNITED STATES DISTRICT COURT

NEW JERSEY DISTRICT COURT

MUNEER MUSTAFTA TAWAM,

Plaintiff,
V.

NORTH JERSEY FEDERAL CREDIT
UNION,

Defendant.

Case No. 2:17-ev-13782-MCA-MAH

PLAINTIFF’S NOTICE OF VOLUNTARY
DISMISSAL WITH PREJUDICE
PURSUANT TO FEDERAL RULE OF
CIVIL PROCEDURE 41(a)(1)(A)(i)

 

 

NOTICE IS HEREBY GIVEN that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

Civil Procedure, Plaintiff Muneer Mustafta Tawam voluntarily dismisses the above-captioned

action with prejudice. Each party shall bear its own fees and costs.

Respectfully submitted this 13th day of December, 2018.

By:

CLARK LAW FIRM, PC

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CERTIFICATE OF SERVICE

I hereby certify that on this 13" day of December 2018, I electronically filed the foregoing
using the Court’s CM/ECF filing system, which will then send a notification of electronic filing

(NEF) to all parties registered to receive electronic notice.

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